                Case 2:18-cr-00759-CJC Document 97 Filed 11/27/18 Page 1 of 1 Page ID #:301
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     -XGJH              Rozella A. Oliver                                                                                 11/27/2018
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 David Ryan, AUSA                                                                   John McNicholas, CJA Appointment




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